     Case 1:20-cr-00183-RJJ ECF No. 60, PageID.539 Filed 10/29/20 Page 1 of 20   1



1                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
2                                  SOUTHERN DIVISION

3       _______________________________________

4       UNITED STATES OF AMERICA,

5                               Plaintiff,
                                                    DOCKET NO. 1:20-mj-416
6       vs.

7       DANIEL HARRIS,

8                               Defendant.

9       ________________________________________/

10

11                         TRANSCRIPT OF DETENTION HEARING

12            BEFORE UNITED STATES MAGISTRATE JUDGE SALLY J. BERENS

13                               GRAND RAPIDS, MICHIGAN

14                                  October 13, 2020

15

16      Court Reporter:                 Glenda Trexler
                                        Official Court Reporter
17                                      United States District Court
                                        685 Federal Building
18                                      110 Michigan Street, N.W.
                                        Grand Rapids, Michigan 49503
19

20      Proceedings reported by machine shorthand, transcript produced

21      by computer-aided transcription.

22

23

24

25
     Case 1:20-cr-00183-RJJ ECF No. 60, PageID.540 Filed 10/29/20 Page 2 of 20   2



1       A P P E A R A N C E S:

2       FOR THE GOVERNMENT:

3             MR. NILS R. KESSLER
              UNITED STATES ATTORNEY'S OFFICE
4             330 Ionia Avenue, N.W.
              P.O. Box 208
5             Grand Rapids, Michigan 49501-0208
              Phone: (616) 456-2404
6             Email: Nils.Kessler@usdoj.gov

7             MR. AUSTIN JACOB HAKES
              UNITED STATES ATTORNEY'S OFFICE
8             330 Ionia Avenue, N.W.
              P.O. Box 208
9             Grand Rapids, Michigan 49501-0208
              Phone: (616) 456-2404
10            Email: austin.hakes@usdoj.gov

11      FOR DEFENDANT HARRIS:

12            MR. THOMAS WILLIAM PARKER DOUGLAS
              DOUGLAS LAW, PLLC
13            106 East 8th Street
              Holland, Michigan 49423
14            Phone: (801) 699-7746
              Email: parkerdouglas66@gmail.com
15

16                                    *   *   *   *   *

17                                                Grand Rapids, Michigan

18                                                October 13, 2020

19                                                3:15 p.m.

20                               P R O C E E D I N G S

21                  THE COURT:    All right.      We're back on the record for

22      a bond hearing for Mr. Harris.        Let's start -- Mr. Kessler and

23      Mr. Hakes are still here and Mr. Douglas on behalf of

24      Mr. Harris who is also present.

25                  Mr. Kessler, are you ready to proceed?
     Case 1:20-cr-00183-RJJ ECF No. 60, PageID.541 Filed 10/29/20 Page 3 of 20    3



1                   MR. KESSLER:     Yes, Your Honor.     As we did with

2       Mr. Franks, Your Honor, I'll just start by recapping a few

3       exhibits that were specific to Mr. Harris.           And then I'm going

4       to call the agent to put on two more exhibits that are relevant

5       to the detention question.        You let me know when you have them

6       in front of you if you'd like, Your Honor.

7                   THE COURT:    Which ones?     I'm sorry.

8                   MR. KESSLER:     I wanted to make sure you had them

9       ready before I started calling them out.

10                  THE COURT:    Yes.

11                  MR. KESSLER:     So Exhibit 3, Mr. Harris is the one who

12      in that encrypted text message suggested just capping her, that

13      being the governor.

14                  And Exhibit 10 is on page 8.        Again, he's the one who

15      goes by the moniker of Beaker.

16                  And Exhibit 10 was -- yes.        Would you like me to

17      bring them up on the screen, Your Honor?

18                  THE COURT:    That's fine.     If that's easy.     That's

19      probably helpful for everyone else in the courtroom to know

20      what we're talking about.

21                  What pages are you headed towards, Mr. Kessler?

22                  MR. DOUGLAS:     I'm headed towards page 8 of

23      Exhibit 10.     Right here.    This is the text if you recall,

24      Your Honor, where everybody was freaking out about their group

25      being infiltrated by the feds.
     Case 1:20-cr-00183-RJJ ECF No. 60, PageID.542 Filed 10/29/20 Page 4 of 20   4



1                   THE COURT:    Uh-huh.

2                   MR. KESSLER:     And there are a number of these, but,

3       for example, this one, Beaker suggests they all get together at

4       10:00 at his house and stay off of Wire because they have been

5       potentially penetrated by the feds.         So he's clearly aware --

6       so that's consciousness of guilt -- they are clearly aware they

7       were doing something wrong.

8                   THE COURT:    And is that the meeting that is on

9       August 23rd?

10                  MR. KESSLER:     This is actually -- what's the date?

11      This is August 18.      This is an encrypted chat messaging.

12                  THE COURT:    I understand.     But when he's saying

13      "Sunday at my house," is that the August 23rd meeting that is

14      referenced in the Complaint?

15                  MR. KESSLER:     Yes.   That would be the meeting where

16      everybody had to bring their ID to his house and prove who they

17      actually were.

18                  THE COURT:    Okay.

19                  MR. KESSLER:     He reiterates the same thing on

20      pages 12 and 13.      He's the one at the very end who is

21      telling -- I'll scroll down to it -- telling everyone "You

22      still haven't done it.       Switch over to the new encrypted

23      application today."

24                  We also rely on Exhibit 11, which is the one that

25      follows this, where he actually sets up the new encrypted
     Case 1:20-cr-00183-RJJ ECF No. 60, PageID.543 Filed 10/29/20 Page 5 of 20      5



1       communications channel and is the founding member here.             It

2       says the group creator is Beaker.

3                   And moving down to the third page again.          This is the

4       one who promotes it to everybody else in the group as being an

5       application that allows you to erase your entire history so the

6       feds can't find it.      Again showing consciousness of guilt.

7                   By September 23rd when their plans were well

8       underway, we heard testimony from Special Agent Trask about

9       people wrapping up loose ends.        And we heard that with

10      Mr. Caserta talking about killing some cops who had made him

11      angry.    We have -- if we can call the agent right now, I'll put

12      on one additional exhibit as to that.

13                  THE COURT:    And you're still under oath, sir.         You

14      understand that?

15                  THE WITNESS:     Yes, ma'am.

16                  THE COURT:    All right.

17                                    RICHARD TRASK

18                     (The oath was previously administered)

19                                 DIRECT EXAMINATION

20      BY MR. DOUGLAS:

21      Q.    So, Agent Trask, we were just discussing how Mr. Caserta

22      had been wrapping up some loose ends.          Did Mr. Harris also make

23      a pitch to other members of this group to wrap up some loose

24      ends of his own?

25      A.    Yes, he did.
     Case 1:20-cr-00183-RJJ ECF No. 60, PageID.544 Filed 10/29/20 Page 6 of 20     6



1       Q.    I'm going to bring up Exhibit 28, and this is one of those

2       encrypted chats on Threema, correct?

3       A.    That's correct.

4       Q.    Again, it's the same group.        It starts at the top it's the

5       FAFO group.     Includes Debased Tyrant, that's Mr. Caserta; Alpha

6       Fuck You, that's Adam Fox; Beaker, that's this defendant;

7       Gunny, Mr. Garbin; Red Hot, Mr. Franks.          And let me highlight

8       the first message from Mr. Franks -- or from Mr. Harris.             Can

9       you read that, please?

10      A.    A, "So who would want to go to Maine to kill an ex-cop for

11      a friend of mine and get her shit from him?"

12      Q.    So he's soliciting other people to go commit a murder?

13      A.    That's correct.

14      Q.    And I won't read -- have you read all of this, but what's

15      the gist of the backstory that he's laying out here in the

16      exhibit?

17      A.    Apparently he had a friend in Maine and there was some

18      issue with what he believed to be a dirty cop.            Essentially he

19      wanted to gather a group together and go kill that ex-cop and

20      potentially the wife and dispose of the bodies.

21      Q.    Okay.    Now, we're going to get to that last part in a

22      second.    Let's scroll down here a little bit.

23            So he actually talks about what he knows about the house

24      and the neighborhood, correct?        What does he say here?

25      A.    That's correct.     He mentions it's in Maine, and he's got a
     Case 1:20-cr-00183-RJJ ECF No. 60, PageID.545 Filed 10/29/20 Page 7 of 20     7



1       wife and her family lives up the street.          Some cousins

2       next-door.

3       Q.    So the same kind of pattern, like checking out the place

4       before you go?

5       A.    That's correct.

6       Q.    And then let's just read this last part.          What does he say

7       they are going to need to do?        If you would read that, please.

8       A.    Yes.    So -- sorry.    Yes.   Yes, "So figured pay him a

9       visit.    Get the shit, obviously.       Have to dispose of him and

10      maybe the wife."

11      Q.    And does he even say anywhere in this chat that the wife

12      of this supposed ex-cop has done him any wrong?

13      A.    There's no mention of the wife prior to that.

14      Q.    All right.     So just casually mentions killing her?

15      A.    That's correct.

16      Q.    Okay.

17                   MR. KESSLER:    And I offer this into evidence,

18      Your Honor.     I'll call it Exhibit 28.       It's just part of the

19      whole big thing, unless you want to start over.

20                   THE COURT:   No, that's fine.

21                   Any objection?

22                   MR. DOUGLAS:    No objection, Your Honor.

23                   THE COURT:   It's admitted.

24      Q.    (BY MR. KESSLER)      Agent Trask, we talked about October 7th

25      which was the day that everybody was going to meet Red to
     Case 1:20-cr-00183-RJJ ECF No. 60, PageID.546 Filed 10/29/20 Page 8 of 20   8



1       purchase the explosives.       And Mr. Harris was in one of the cars

2       that was going there, correct?        Some people carpooled together?

3       A.    That's correct.

4       Q.    And who else was in the car with Mr. Harris?

5       A.    It was all the individuals to include the CHS.

6       Q.    Okay.    And where was the CHS sitting in relation to

7       Mr. Harris?

8       A.    The CHS was in the driver's seat driving the vehicle and

9       Mr. Harris was located behind him.

10      Q.    Okay.    So in one of the backseats?

11      A.    Yes.

12      Q.    All right.     And did he do anything noteworthy on the trip

13      over?

14      A.    So according to the CHS during debriefing, the entire ride

15      over Mr. Harris was repeatedly unloading the weapon, removing

16      the round.

17      Q.    When you say "the weapon," are we talking about a

18      semiautomatic pistol?

19      A.    Yes, a semiautomatic pistol.        Removing the round, pulling

20      the trigger, reloading.       And then at one point I believe it was

21      the CHS asked "What the hell are you doing?" or something along

22      those lines.     At which point Harris pointed the gun to CHS's

23      head and held it there until CHS finally yelled at him and

24      said, "Get that thing away from me."

25                   MR. KESSLER:    I have nothing further, Your Honor.
     Case 1:20-cr-00183-RJJ ECF No. 60, PageID.547 Filed 10/29/20 Page 9 of 20   9



1                    THE COURT:   Mr. Douglas.

2                                   CROSS-EXAMINATION

3       BY MR. DOUGLAS:

4       Q.    Now, Agent Trask, you were just shown a description about

5       an officer in Maine?

6       A.    Yes.

7       Q.    After that discussion there's nothing ever said about that

8       officer in Maine again, is there?

9       A.    I don't recall after that discussion.

10      Q.    So there's no follow-up to that discussion?

11      A.    Not that I'm aware of at this time.

12      Q.    And you are the main case agent on the case, right?

13      A.    Pardon?

14      Q.    You are the main agent on the case, right?

15      A.    I am the main agent on one of the cases as we discussed.

16      Q.    Okay.    But if there was more talk about it, you would know

17      about it, wouldn't you?

18      A.    I would have to go through the encrypted chats, so . . .

19      Q.    But you would know -- you don't know of any other further

20      discussion about this?

21      A.    I'm not aware at this time.

22      Q.    Okay.    And when we were shown weapons earlier, none of

23      those were from Mr. Harris's house; is that correct?

24      A.    If I recall correctly, no, that is correct.

25                   MR. DOUGLAS:    No more questions on cross, Your Honor.
 Case 1:20-cr-00183-RJJ ECF No. 60, PageID.548 Filed 10/29/20 Page 10 of 20     10



1                THE COURT:    Thank you.

2                Further proofs, Mr. Kessler?

3                MR. KESSLER:    No, Your Honor.

4                THE COURT:    Mr. Douglas, any proofs?       Either by

5    proffer or by --

6                MR. DOUGLAS:    I'll go by proffer.

7                THE COURT:    All right.    I'm sorry?

8                MR. DOUGLAS:    I'll go by proffer.

9                THE COURT:    You can go ahead.

10               MR. DOUGLAS:    Thank you.

11               Your Honor, by proffer I would, like prior counsel,

12   make reference to the Pretrial Report.         I think that there's --

13   and again like prior counsel I would focus on possible danger

14   to the community going forward.

15               I think that there -- in the report itself there's no

16   indication that Mr. Harris has connections outside of Michigan.

17   When he's left Michigan, he's left because he was part of the

18   Armed Services.     He lives with his parents, and he would

19   continue to live with his parents if permitted bond in this

20   case.

21               Other than that, I would just point out, as I did

22   when I crossed Agent Trask earlier, that, you know, there are

23   several of the occasions where Mr. Harris isn't present.             And

24   there are many times where he's included on chats where he

25   doesn't respond so we have no idea what he may or may not have
 Case 1:20-cr-00183-RJJ ECF No. 60, PageID.549 Filed 10/29/20 Page 11 of 20   11



1    thought about that.

2                And with that, Your Honor, I would save the rest for

3    argument.

4                THE COURT:    Thank you.

5                Mr. Kessler, any argument?

6                MR. KESSLER:    Yes, Your Honor.      And I will be

7    relatively brief here because I think we covered a lot of the

8    same ground with the last defendant, so I think the same things

9    apply.

10               If this was a credit card fraud or something like

11   that, we might be talking about a different situation.            But the

12   nature of the offense is very serious.         He's armed, he's

13   trained, he has the military background, which is -- makes him

14   in some ways even more dangerous than some of his more amateur

15   colleagues here.     And of all the things he did, the part about

16   them going to go case the governor's house in the middle of the

17   night is definitely the most concerning.          That's just not

18   something a normal person does if they don't mean it.

19               Again, like Mr. Caserta, tying up loose ends, talking

20   about the murder of a police officer here, I think that shows

21   us two things:     First, that he was serious about the plot

22   because you don't even start talking about doing something

23   crazy like killing somebody who you have barely any relation to

24   if you're not thinking that the boogaloo is coming or chaos is

25   coming and you're not going to be held accountable for it.
 Case 1:20-cr-00183-RJJ ECF No. 60, PageID.550 Filed 10/29/20 Page 12 of 20    12



1                It also shows that he's just got a dangerous way of

2    looking at things.      It's very casual to just suggest, well, you

3    know, I'm going to have this time on my hands before everything

4    happens and let's go ahead and kill this guy I barely know back

5    in Maine and then just kill his wife for no reason.            There's

6    nothing in the chats to suggest that it's said in jest.             And

7    obviously he didn't do it.       I agree with his counsel, you know,

8    that there's nobody dead in Maine that we know of.            But just

9    the suggestion thrown out there to a group like this is

10   dangerous all by itself.

11               And then finally we just see some evidence that he's

12   really a volatile kind of person if on the way over to meet the

13   explosives expert on October 7th he's just sitting back there

14   and can't stop playing with, you know, a semiautomatic pistol

15   and puts it to somebody's head for almost no reason.            I just

16   think all those things together give us the sense that there's

17   nothing short of detention that's really going to work to keep

18   the public safe here.

19               THE COURT:    Thank you.

20               Mr. Douglas.

21               MR. DOUGLAS:    Your Honor, I'll focus on danger,

22   ongoing danger to the public, since that's where we seem to

23   have gone.

24               First I would say that there's no allegation or

25   indication that, like the prior defendant, Mr. Harris had any
 Case 1:20-cr-00183-RJJ ECF No. 60, PageID.551 Filed 10/29/20 Page 13 of 20   13



1    desire or action to find some unmarked gun.          That's just not

2    here.

3                I'd also note that what we have are what we've seen,

4    statements, and statements that there was no follow-through on.

5    So the question is, as Your Honor pointed out previously, is

6    there a condition or combination of conditions that the Court

7    may impose to show that he's not an unreasonable risk of danger

8    to the community?     And Your Honor knows that, you know, it's

9    not a hundred percent that we look for, although we sure try.

10               Now, there are several conditions -- most of them are

11   listed in the report here -- Your Honor can impose.            House

12   arrest at his parents' I think is appropriate if Your Honor

13   does.   Again a location monitor, an ankle monitor.           One that

14   would show -- you know, one that could be tripped if he left

15   the house if Your Honor thinks the conditions have to be that

16   strict.    But to say that those conditions don't assure the

17   reasonable safety of the community I think is just nonsense.

18               There are -- the conditions will essentially keep him

19   in his house, and there's -- and we can also say that there's

20   no -- no access to the computer or phones if you want to cut

21   off communications as well.       And so I don't think that this is

22   one where -- especially given the fact that he has no criminal

23   history prior to this, this isn't a presumption case, and if --

24   unless we're going to say categorically anybody who is alleged

25   to have committed these things is de facto a danger to the
 Case 1:20-cr-00183-RJJ ECF No. 60, PageID.552 Filed 10/29/20 Page 14 of 20   14



1    community and can't be managed, I think that there are

2    conditions.    And I won't belabor the point, but I would just

3    leave it at that.

4                THE COURT:    Thank you.

5                Mr. Kessler, is there a last word?

6                MR. KESSLER:    Nothing, Your Honor.

7                THE COURT:    All right.    This matter is governed by

8    the Bail Reform Act of 1984.        Under the Bail Reform Act I have

9    to release the defendant on bond unless I find by a

10   preponderance of the evidence that he is a risk of flight or

11   nonappearance or by clear and convincing evidence that he's a

12   danger to the community.       I am required to consider the

13   least-restrictive condition or combination of conditions that

14   will reasonably assure his appearance and protect the

15   community.    And I have considered each of the possible

16   conditions set out in the statute, with special emphasis on

17   those enumerated in the Pretrial Services Report.

18               In determining whether there are sufficient

19   conditions to reasonably assure your appearance or to protect

20   the community, I am required to consider a number of factors,

21   including the nature and circumstances of the offense charged,

22   including the seriousness of the offense and whether it's a

23   crime of violence, the weight of the evidence.           The

24   Sixth Circuit in the United States versus Stone, which is a

25   very similar case in many respects, although there was a
 Case 1:20-cr-00183-RJJ ECF No. 60, PageID.553 Filed 10/29/20 Page 15 of 20   15



1    presumption in that case which is not at issue here, but that

2    case notes that weight-of-the-evidence factor is the weight of

3    the evidence of dangerousness.        And I'll focus on that since

4    risk of flight really isn't an issue here.

5                In addition, I have to consider the history and

6    characteristics of the defendant, your history and

7    characteristics, and the nature and the seriousness of the

8    danger to any person or the community that would be posed by

9    the defendant's release.

10               As I note, I don't -- I didn't hear the government

11   put particular emphasis on risk of flight, and I don't think

12   that there is a preponderance of the evidence here that he is a

13   risk of flight given his ties to the community.

14               I would note a number of things from the

15   Pretrial Services Report that in many respects factor in favor

16   of Mr. Harris.     He's 23 years old.      He was honorably discharged

17   last year from the Marine Corps.        He is living with his parents

18   and has been employed from time to time during the period

19   following his service.      He also is receiving veterans

20   disability benefits due to some injuries.

21               He does have -- neither of the parties really talked

22   about this, but he was diagnosed with insomnia and anxiety back

23   in June of last year.      And although he did not set forth any

24   suicidal thoughts or ideations at the time that he was

25   arrested, he advised that he has had suicidal thoughts while he
 Case 1:20-cr-00183-RJJ ECF No. 60, PageID.554 Filed 10/29/20 Page 16 of 20   16



1    was in the military because he did not feel he was treated well

2    and he hated his life at the time.

3                There is some evidence of some substance use,

4    although it's a little bit difficult to take from the

5    Pretrial Services Report, and I don't take from the

6    Pretrial Services Report that that is necessarily abuse.

7                And under normal circumstances if the crime charged

8    here were credit card fraud, as I think the government would

9    concede, Mr. Harris would be an appropriate candidate for bond.

10               So the focus, as in each of these cases, I think, is

11   on the offense conduct.       And so specifically the nature of the

12   offense charged, which goes to the weight of his dangerousness

13   to the community.     Obviously conspiracy to commit kidnapping is

14   a dangerous offense, and so the Court has to consider whether

15   or not that offense is an ongoing risk to the public.

16               In this case Mr. Kessler has laid out a number of --

17   has pointed to a number of the exhibits -- and I'm sorry, sir,

18   I didn't realize you were still here, you can step down -- but

19   I'm going to go through the allegations as I understand them

20   from the Complaint and from the witness's testimony that are

21   specific to Mr. Harris.

22               Back in -- on July 18 Mr. Harris and others met in

23   Ohio, and attendees at that exercise discussed attacking a

24   Michigan State Police facility.        As has been noted a couple

25   times, the fact that these field training exercises took place
 Case 1:20-cr-00183-RJJ ECF No. 60, PageID.555 Filed 10/29/20 Page 17 of 20     17



1    I don't particularly credit as being indicative of any sort of

2    criminal intent, however, it's the discussions later on about

3    this plot as it develops that demonstrate dangerousness to the

4    community.

5                On August 9 Mr. Harris participates in another

6    tactical training in Munith.        There is some discussion about

7    kidnapping Whitmer.

8                Slightly later Mr. Harris participates in a group

9    chat and says -- which has been pointed out by the government

10   -- "Have one person go to her house, knock on the door, and

11   when she answers it just cap her.        At this point fuck it."         And

12   then it says "I mean catch her walking into the building and

13   act like a passersby and fixing dome her and then yourself,

14   whoever does it."     So that statement suggests a homicide but

15   then also a suicide in followup to that.

16               On August 23 Mr. Harris and the others meet at his

17   residence, this is the residence to which he asked to return,

18   and there is this discussion, as is mirrored in the group chats

19   prior to that, relating to concern about infiltration by law

20   enforcement.    And they are required to bring personal documents

21   to demonstrate who they are.

22               On September 12 and 13 there is another field

23   training exercise at Garbin's property in Luther at which

24   Mr. Croft constructs an IED and detonates it.           By noting that,

25   I don't mean to suggest, because I don't think there's evidence
 Case 1:20-cr-00183-RJJ ECF No. 60, PageID.556 Filed 10/29/20 Page 18 of 20   18



1    that Mr. Harris had any part of that, but it is part of the

2    backdrop for consideration of the conduct that's attributable

3    to him.

4                Then there is this nighttime surveillance that

5    happens.    Mr. Harris does not go on that trip, on that

6    surveillance exercise, but according to testimony became aware

7    of that surveillance the next day and expressed regret that he

8    had not participated.

9                On September 13 the group talks again and Fox

10   confirms with the group that this is the group of people that

11   is going to kidnap Governor Whitmer.

12               On September 17 in an encrypted group chat,

13   Mr. Harris with the others, there is a discussion about this

14   protest at the Capitol and everyone agrees that they don't want

15   to bring attention to themselves.

16               And then on October 7 Mr. Harris is among the group

17   that goes to meet with what turns out to be an undercover

18   officer to make a payment on explosives and tactical gear.

19               There has also been the testimony from the agent

20   regarding Mr. Harris's behavior on the drive to meet the -- to

21   meet that undercover officer where he is repeatedly unloading,

22   dry firing, reloading and unloading a semiautomatic pistol and

23   is alleged to have pointed it at the CHS's head.

24               In addition, I also am concerned about Exhibit 28

25   which is the series of messages in which he is soliciting other
 Case 1:20-cr-00183-RJJ ECF No. 60, PageID.557 Filed 10/29/20 Page 19 of 20   19



1    people to commit the murder of a police officer in Maine as

2    well as the officer's wife.       He also appears -- although he

3    does not appear thus far in the evidence to be a leader of the

4    conspiracy, he does drive a lot of the movement to be more

5    secure in communications including creating a separate group

6    chat when there is a concern about infiltration.

7                Mr. Douglas argues that location monitoring and house

8    arrest as well as not allowing any communication access, phones

9    or computer, would be sufficient.        And respectfully I disagree.

10   That even here where someone has no criminal history, the

11   evidence that has been laid out by the government is in my view

12   sufficient to sustain its burden by clear and convincing

13   evidence that there would be ways to get around that.            It is

14   not difficult to cut a tether and to leave.          And while law

15   enforcement has managed to infiltrate this group to a great

16   degree, there are lots of other people in the world who could

17   offer assistance.     So while this plot appears to have been

18   disrupted, it's not clear that additional -- that the movement

19   has ended and that there are not other individuals who would be

20   able to help Mr. Harris.

21               So based on all of that, I find by clear and

22   convincing evidence that no condition or combination of

23   conditions will reasonably assure the safety of any other

24   person in the community.

25               Mr. Harris, I am sure you don't agree with what I
 Case 1:20-cr-00183-RJJ ECF No. 60, PageID.558 Filed 10/29/20 Page 20 of 20   20



1    just decided, but did you understand everything that happened

2    in court today?

3                DEFENDANT HARRIS:      Yes, Your Honor.

4                THE COURT:    Thank you.

5                Anything else we need to take up in this matter,

6    Mr. Kessler?

7                MR. KESSLER:    No, Your Honor.

8                THE COURT:    Mr. Douglas?

9                MR. DOUGLAS:    No, Your Honor.

10               THE COURT:    All right.      We'll be adjourned.

11               THE CLERK:    All rise, please.       Court is adjourned.

12         (Proceeding concluded at 3:41 p.m.)

13                                 *   *   *   *   *

14                                  CERTIFICATE

15               I certify that the foregoing is a transcript from the

16   Liberty Court Recording System digital recording of the

17   proceedings in the above-entitled matter, transcribed to the

18   best of my ability.

19               I further certify that the transcript fees and format

20   comply with those prescribed by the court and the Judicial

21   Conference of the United States.

22

23   October 28, 2020

24

25                                     /s/ Glenda Trexler      __________
                                       Glenda Trexler, CSR-1436, RPR, CRR
